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Rate Total Total Total Total Tota? Total Total] O/T

2/19/2013 73222/ $8.00 10 1 11 11
2/12/2014 73013] $8.00 8 a a 0 o 4| 20 20
2/5/2014 72713 $3.00 8.5 8 o B 8 8] 40] O05 | 405
1/29/2014 $8.00 9.5 19 g 6.5 & 8] a0 | 12 | 52
1/22/2614 72326| $8.00 a g 25 & & a] 40 | 7.57] 47.5
1/15/2014 71945] $8.00 10 20 8 a 10 io} 40 |! 16 |] 56
1/8/2014 71863} $8.00 10 10 75 0 o 75] 35 | 35
12/31/2013 71701 $8.00 3 8.5 a 5 8 8] 40 | 8S | 4&5
12/26/2013 71309 $8.00 3 8.5 8 a 8 8] 40 | 85 | 485
12/18/2013 71195] $8.00 10 10) 9 g 5 9] 40 | 16 | 56
12/11/2013 71071 $3.00 19 tO 8 10 3 9) 40] 161 56
12/4/2013 FOS57 $8.00 & 9 & a 8 gs} 40] 9 49
11/27 {2013 7O637{ 58.00 10 10 8 8 10 10} 40 | 16 | 56
11/20/2013 70404 $8.00 10) 10 & 8 10; 1G] 40 ; 16 | 56
11/13/2013 70184] $3.06 8 8.5 8 g 8B 8} 40 | 8.5 | 485
11/6/2013 69796} $8.00 10 10) 9 10 5 8] 40 | 16 | 56
10/30/2013 69682| $8.00 10 10 6 10 10 10] 40 | 16 | 56
10/23/2013 69493 $8.00 10 1p g 9 S 10} 40 | 16 | 56
10/16/2013 69294| $5.00 8 8.5 a g a 8] 40 | 8.5 | 48.5
10/9/2013 68869] 58.00 9 5 a & a 8| 40: 10 | 50
10/2/2013 687387; 58.00 19 10) a 10 9 9} 40; 16 | 56
9/25/2013 68565| $8.00 8 9 8 & 8 8} 40] 9 43
9/18/2013 68363] $8.00 10 10 & 10 3 9} 40 | 16 | 56

D Exclusive Detailing Docs 001

Regular Pay

$83.00
$160.00
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$192.00
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$108.00
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$102.00
$120.00
$192.00
$108.00
$152.00

Total Pay

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Rate Total Total Total Total Tatat Total Total] O/T

9/12/2013 68083| 58.00 10 10 8 8 20) 10] 40 | 16 | 56
9/4/2015 67907| $8.00 o 10) 8 10 10 a5] 40 | 2.5 | 42.5
8/28/2013 67826] $4.00 9 10) 8 10 10 9} 40 | 16 | 56
8/20/2013 67433! $8.00 7.5 3 8 g 5 8] 40.105] 50.5
8/14/2013 67188| 58.00 10 19 g # 19 19} 40 | 16 | 56
8/7/2013 66900] $8.00 10) 10 6 9 8 0} 40 | 3 43
7/31/2013 66703] $8.00 3 $ 8 3.5 10) 10] 40 | 15.5] 55.5
7/24{2013 66406 $8.00 10 9 g 9 10 10; 40 | 16 | 56
7/17/2013 $6224 $8.00 10 16 8 3 9 1p] a0 | 16 56
7/10/2013 65942] S800 85 9 g 8 B 8] 40 5 35 | 495
3/3/2013 65769] $8.00 10) 10 a 9 9 10] 40; 16] 56
6/26/2013 65528 $8.00 9 10 a q 10 10} 40 | 16 | 56
6/19/2013 65267| $8.00 9 9 8 10 10) 10] 40 | 16] 56
6/12/2013 68847, $8.00 9 a 0 8 3 3] 4p | 3 43
6/5/2013 64754] $8.00 10 10 8 5 9 10] 40 | 16 | 56
5/29/2013 64543/ $8.00 3 4 8 o 8.5 S$! 40 | 3.5 | 43.5
5/22/2013 64347| 58.00 19 10) a 8 10 10} 40 | i6 | 56
8/15/2013 64097 $8.00 10 10 8 3 10. 10} 40 ! 17 | 5?
S5/B/2013 63842 $8.00 9 10 8 10 10 uo] 40 | 17 | 57
S/1f2013 63606 $8.00 9 10 8 10 10 10] 40 | 17 | SF
4/24/2013 63374| $8.00 10 10 8 10 10 to] 40 | 18 | s@
4/17/2013 63148 $8.00 a 3 8 8 a 3} 40 | 10] SB
4/1/2013 63913| $8.00 10 0 a g 3 10] 40 | 16] 56

D Exclusive Detailing Docs 002

Regular Pay

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$36.00
$186.00
$192.00
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$114.00
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Total Pay

$512.00
$350.00
$512.00
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$512.00
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$506.00
$512.00
$512.00
$434.00
$512.00
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$512.00
$362.00
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$524.00
$524.00
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$440.00
$512.00
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Rate Total Total Tatal Total Total Total =| Totalf o/T
4/3/2013 62587| $8.00 10 10 & 10 30 10 13
3/27/2013 62382 $8.00 g 10 B 10 10) g 16
3/20/2013 62124| $8.00 9 a & 10 10 10 16

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Slsel/sjalsfejal[s
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D Exclusive Detailing Docs 003

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Total Pay

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